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                     EXHIBIT 2
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                                                                            Page 1
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


              ---------------------------------X
              IRA KLEIMAN, as the personal             )
              representative of the Estate of          )
              David Kleiman, and W&K Info              )
              Defense Research, LLC,                   )
                                                       )
                                  Plaintiffs,          )   CASE NO.:
                                                       )
              v.                                       )   9:18-cv-80176-BB/BR
                                                       )
              CRAIG WRIGHT,                            )
                                                       )
                                  Defendant.           )
              ---------------------------------X


                                        CONFIDENTIAL
                         REMOTE DEPOSITION OF AMI KLIN, PH.D.
                       Tuesday, April 21, 2020; 10:04 a.m. EST



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              Pgs.     1 - 246, 263 - 400
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                                                                         Page 123
         1    talk to Ms. McGovern before Friday the 17th?

         2             A.     Yes, I did.

         3             Q.     Okay.    And what did you tell her about

         4    the existence or nonexistence of what ultimately was

         5    produced on Saturday?

         6             A.     I told her that in my work as a

         7    clinical expert witness in legal cases, that

         8    everything that I do towards writing a -- my opinion

         9    in my report -- these are materials that contribute

        10    to my thinking, but I take them in the totality in

        11    order to write the final report.           And that -- it's

        12    been my practice for now since six to eight years

        13    that I don't keep handwritten notes, I don't keep --

        14    I don't keep any of those things once I have an

        15    opportunity to complete my assignment, which is my

        16    final report.

        17             Q.     Did you, in fact, take handwritten

        18    notes when you spoke with Dr. Wright?

        19             A.     Oh, I took copious notes, and I assume

        20    that -- yes, absolutely.

        21             Q.     And you -- you -- after you were

        22    completing your report, you destroyed those notes?
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                                                                         Page 124
         1             A.     Yes, I destroy all of my stickies, all

         2    my copious notes.       Once I have had an opportunity to

         3    create an integration of all of the information, my

         4    goal is to use the totality of that information to

         5    generate my opinions, which are, again, written as

         6    the report.     So I see that as my final work product.

         7             Q.     And Dr. Saulnier -- do you know if she

         8    took notes during her conversations with the mom,

         9    the sister, the uncle and the wife?

        10             A.     Oh, she -- she did.        And she provided

        11    me with all of those notes.

        12             Q.     Were those notes handwritten?

        13             A.     Yes, they were handwritten on the forms

        14    that were completed.        That's usually how you perform

        15    those procedures.

        16                    As you -- as you probably checked,

        17    the -- the -- the binder that I sent you, in which

        18    there are copies of all of the instruments that we

        19    use, there is plenty of room there to -- to write.

        20    And so we write quite a bit.          So --

        21             Q.     But do you know -- go ahead.

        22             A.     -- and she handed in all those
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                                                                         Page 125
         1    materials to me.

         2                    And -- and so once I integrated all of

         3    the information and I was able to write, I guess, a

         4    draft report, because -- but it is my final

         5    product -- work product, I -- I -- it's my practice

         6    that I destroy all of those -- all of those written

         7    notes and stickies and notebooks, anything that has

         8    to do with that.

         9             Q.     Okay.     So let me change topics on you.

        10             A.     Okay.

        11             Q.     We've covered the -- in some detail,

        12    although we'll go back -- we've covered a lot -- we

        13    covered the materials you did review in connection

        14    with your work in this case.          I want to talk to you

        15    about some things you didn't review, okay, and

        16    confirm you did not.

        17             A.     Please.

        18             Q.     Okay.    You -- first of all, was there

        19    any materials -- whether it be depositions, court

        20    proceedings, interview subjects -- anything -- any

        21    materials that you asked to review that you were

        22    told you could not review?
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                                                                         Page 144
         1    possible, very concrete observations of every day

         2    situations that they can tell me so that I can use

         3    those things in order to subsequently complete a set

         4    of, again, standard items with very detailed and

         5    specific criteria so that I can rate.

         6                    So I'll never ask a person a direct

         7    question, and I use that information to complete a

         8    semistructured interview.         I elicit general

         9    information as much as possible, as rich as

        10    possible.     And on the basis of that information, I

        11    then translate myself, because I know what I'm

        12    looking for, into specific scores in a particular

        13    form.

        14             Q.     What do you do in the situation -- in

        15    the situation where you -- and let's use Dr. Wright

        16    as our example --

        17             A.     Please.

        18             Q.     -- what do you do in a situation -- if

        19    you ask Dr. Wright, in the context of a

        20    semistructured interview, a question and he gives

        21    you an answer, but then that answer is not

        22    consistent with the overall perception you're
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                                                                         Page 225
         1    assessment is based on information either provided

         2    to you or facilitated solely by the lawyers in the

         3    case, correct?

         4                    MS. MCGOVERN:      Object to form.

         5                    THE WITNESS:      My opinion is based on

         6         the information or the materials provided to

         7         me plus the observations and results of

         8         everything that was conducted as part of the

         9         evaluations; so my own observations -- the

        10         various different procedures that I followed

        11         and that my colleague followed.

        12                    BY MR. BRENNER:

        13             Q.     Fair enough.

        14                    The interviewees were all set up by

        15    Rivero Mestre to talk to you, correct?

        16                    MS. MCGOVERN:      Object to the form of

        17         the question.

        18                    THE WITNESS:      Not quite.

        19                    The attorneys never told me how I

        20         would do my evaluation or who I should be

        21         speaking to.      So I was the one who provided

        22         them with the structure and methodology of
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                                                                         Page 226
         1         my evaluation and that I would require

         2         reliable informants on his current

         3         presentation and on his historical

         4         presentation.

         5                     And as part of the exchange, I

         6         found out that there was a mother and that

         7         the mother was lucid, and she could provide

         8         information.      We -- I told them that -- is

         9         there someone else in the family that can

        10         join her.     And I was told that there was an

        11         uncle, and so I requested the uncle.

        12                    And then for current presentation

        13         and for the Vineland, which is realized

        14         skills, the person in the best position

        15         would be his wife.       So I asked for his wife.

        16                    And after the procedures were

        17         conducted with his mother and his maternal

        18         uncle, Dr. Saulnier and I talked about this,

        19         and we needed to fill in some vantage

        20         points.    And we thought then that the

        21         younger sister, younger only by two years,

        22         would be the person the closest to the kinds
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                                                                         Page 227
         1         of concrete observations that we needed

         2         about him when he was in school, for

         3         example.

         4                    So the people I talked to were

         5         people that -- in essence, I decided who

         6         they're going to be on the basis of the

         7         information provided to me.

         8                    BY MR. BRENNER:

         9             Q.     And when you got done with that full

        10    assessment that you just went through and you set

        11    out -- you set forth in your report, you did not

        12    then go back and try to find -- look at publicly

        13    available information to see if it's consistent with

        14    what you learned during your assessment, correct?

        15             A.     That is correct.       And most clinicians

        16    like myself don't like the idea of conducting

        17    clinical work by looking at media materials or

        18    things of that nature, because part of the

        19    methodology used in gold standard clinical

        20    evaluations is a setting that you have some control

        21    over.

        22                    That's why when people say that
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                                                                          Page 228
         1    Mr. Trump has a particular mental illness, this and

         2    that, they're often discredited by others because

         3    you don't conduct those kinds of -- you shouldn't

         4    even state those kinds of impressions on the basis

         5    of that kind of information.

         6             Q.      Okay.    I'm going to play the video now

         7    to the end.

         8                     (Video is played.)

         9                     BY MR. BRENNER:

        10             Q.      I'll represent to you -- which I think

        11    to be correct -- that the video is from -- let me

        12    use -- it's off the screen, right?

        13             A.      Yes, it is.

        14             Q.      Okay.    I'll represent to you that my

        15    understanding is that video is from May or June of

        16    2019.    I think it's actually from May and uploaded

        17    in June, which, just for the record, is between the

        18    time of the deposition you -- you reviewed of

        19    him and -- well, let me rephrase that.

        20                     May or June 2019 is the period of

        21    time in between when the deposition you reviewed

        22    was taken and the court testimony you reviewed was
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                                                                           Page 240
         1    mentor sort of put me on -- it's just this very

         2    basic notion, do you have daydreams, do you

         3    daydream, because all of us do.           And what fills our

         4    minds are typically things that have to do with

         5    important others or people that we wanted to relate

         6    with, some kind of a social situation or some --

         7    those are the kinds of things that fill our minds.

         8                     What fills his mind is geometry, it's

         9    algebra -- these are the things that -- when he's

        10    idle, these are things he's thinking about.

        11                     And we were having this conversation

        12    and, all of a sudden, he started to be tearful, and

        13    it came quite suddenly, and we explored that.                Why?

        14    And this was absolutely not contrived.

        15                     The reason being that in some

        16    situations when he feels that people don't

        17    understand him, he's hostile against them.              He

        18    doesn't understand.        He just repeats himself all the

        19    time and gets very hostile, even if -- it can be his

        20    wife; it can be anybody.

        21                     But in that situation, the reason he

        22    was tearful is because he can sense a -- a -- a true
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                                                                          Page 312
         1    Dr. Saulnier would have had in front of her when

         2    she was interviewing the people that were

         3    interviewed for the ADI-R, correct?

         4             A.      Correct.

         5             Q.      And you talked -- you told me about

         6    this earlier, but she would have been taking

         7    handwritten notes on -- on this form.

         8                     And there's lots of spaces for it if

         9    you keep scrolling through it, correct?

        10             A.      That is correct.

        11             Q.      Okay.    And those are the notes -- we

        12    don't have those notes now because she gave them to

        13    you -- well, let me ask you.

        14                     Did she give them to you and you

        15    destroyed them, or she destroyed them after she

        16    gave them to you?

        17             A.      No; she gave me everything.

        18             Q.      Okay.    So she handed over everything

        19    she had -- all her background, all her data and all

        20    her notes -- and then you made the decision to

        21    destroy those notes, correct?

        22             A.      As per my practice in this kind of
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                                                                          Page 313
         1    work.

         2             Q.      Okay.     Now, we don't know, on the

         3    ADI-R, how any individual questions were scored, do

         4    we?

         5             A.      No.

         6             Q.      Okay.     And all we know is what -- we

         7    actually know two things:          We know what Dr. Saulnier

         8    reported to you was her scoring, and we know what

         9    you put in your report.

        10                     So let's look at both of those.

        11                     Okay?

        12             A.      Please.

        13             Q.      Okay.    So Dr. Saulnier -- I'm still in

        14    the binder, and I think we're going to Page 5.               But

        15    for your reference, it is -- I don't have to

        16    describe it to you.        It's part of her -- it's part

        17    of her draft narrative.         I don't really know what to

        18    call it, but -- do you see what's on the screen?

        19             A.      Yes, I see it.

        20             Q.      Okay.    I don't want to -- I don't want

        21    to characterize it as something it's not.

        22                     Just so we're clear -- and by the
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                                                                          Page 368
         1    an actual score for all of these things?

         2             A.      I have -- the way that the ADOS is used

         3    is the clinically -- the gold standard clinical

         4    judgment using the ADOS makes use of its algorithm

         5    scores -- his total scores, not item by item.               The

         6    validity of an instrument is maximized by using the

         7    totality of information and not any of the items in

         8    isolation.

         9             Q.      Okay.    We'll look at that -- we'll look

        10    at what the actual algorithm is in a second.

        11                     What's Number 6?

        12             A.      That would be a 1.

        13             Q.      Okay.    Seven?

        14             A.      It would be a 1.

        15             Q.      Okay.    There was a time in this case

        16    where you filled these out, right?            There's actually

        17    a sheet of paper that existed with your numbers in

        18    these boxes, right?

        19             A.      There will be a form just like this

        20    with not only the scores but a million notes.

        21             Q.      And a million notes.

        22                     And you threw them all away?
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                                                                          Page 369
         1             A.      As I mentioned to you, that is my

         2    standard practice once I submit the report.

         3             Q.      Number 8?

         4             A.      It would be a 2.

         5             Q.      Yes, Doctor.

         6                     Number 9?

         7             A.      It would be a 1.

         8             Q.      Ten?

         9             A.      It would be a 2.

        10             Q.      Eleven?

        11             A.      A 0.

        12             Q.      Twelve?

        13             A.      A 0.

        14             Q.      All right.     New section -- there's only

        15    one section -- Imagination section.

        16                     What did you give him on the one

        17    question?

        18             A.      A 0.

        19             Q.      Okay --

        20             A.      I --

        21             Q.      -- I'm sorry.

        22             A.      -- I just noted something.
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                                                                          Page 377
         1    just a little bit?

         2             Q.      Doctor, I feel like a golf caddy at

         3    this point.

         4             A.      I'm just trying to make sure.

         5                     So the cutoff is 6 and 4, yes, and the

         6    cutoff is 10 and 7.

         7                     Yes, it is identical.

         8             Q.      Okay.    The last page is identical?

         9             A.      Yeah -- well -- yeah, it is -- it

        10    is the same items, yes.

        11             Q.      And you did actually write in the

        12    scores on this, correct?

        13             A.      Correct.    You need to make a

        14    transformation, but that is true.

        15             Q.      And then you transferred the -- the

        16    results to your report on Page 9, correct?

        17             A.      Once I complete the algorithm page of

        18    the ADOS-2 Module 4, I then have the scores, and

        19    then I list them in my report.

        20             Q.      And you discard this -- what we're

        21    looking at on the screen, Page 207 of the binder?

        22             A.      Yes, I discarded everything that I had
